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 7
                        UNITED STATES DISTRICT COURT
 8
                       EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,     ) 1:10-CR-00131 AWI
11                                 )
                    Plaintiff,     ) STIPULATION AND ORDER THEREON
12                                 ) FOR CONTINUANCE
                 v.                )
13                                 )
     JOSEPH NOLAN ET AL,           )
14                                 )
                    Defendants.    )
15   ______________________________)
16        Defendants JOSEPH NOLAN, JOSEPH TAYLOR, MARK MCGARTH, DUSTIN
17   YOUR, and JEREMY DUNN by and through their attorneys, ANTHONY P.
18   CAPOZZI, MICHAEL D. NASATIR, ALLIOSN B. MARGOLIN, CHARLES J. LEE,
19   MONICA A. MIHELL, and JOHN FREDERICK GARLAND, and the United
20   States of America, by and through its attorneys, BENJAMIN B.
21   WAGNER, United States Attorney, and KAREN A. ESCOBAR, Assistant
22   United States Attorney, hereby stipulate that Status Conference
23   set for May 2, 2011, be continued to May 31, 2011 at 11:00 a.m.
24   due to the unavailability of counsel for the government, who is
25   on medical leave following knee replacement surgery.
26        The parties agree that the delay resulting from the
27   continuance shall be excluded in the interests of justice herein
28   for effective defense preparation, plea negotiations,
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 1   availability of counsel, and the filing of motions, pursuant to
 2   18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv).
 3
 4   Dated: April 26, 2011                  Respectfully submitted,
 5                                          BENJAMIN B. WAGNER
                                            United States Attorney
 6
 7                                    By:   /s/ Karen A. Escobar
                                            KAREN A. ESCOBAR
 8                                          Assistant U.S. Attorney
 9   Dated: April 26, 2011                  /s/ W. Anthony P. Capozzi
                                            ANTHONY P. CAPOZZI
10                                          Attorney for Defendant
                                            JOSEPH NOLAN
11
                                            /s/ W. Michael D. Nasatir
12                                          MICHAEL D. NASATIR
                                            Attorney for Defendant
13                                          JOSEPH NOLAN
14                                          /s/ W. Allison B. Margolin
                                            ALLISON B. MARGOLIN
15                                          Attorney for Defendant
                                            JOSEPH TAYLOR
16
                                            /s/ W. Charles J. Lee
17                                          CHARLES J. LEE
                                            Attorney for Defendant
18                                          MARK MCGRATH
19                                          /s/ W. Monica a. Mihell
                                            MONICA A. MIHELL
20                                          Attorney for Defendant
                                            DUSTIN YORK
21
                                            /s/ W. John F. Garland
22                                          JOHN F. GARLAND
                                            Attorney for Defendant
23                                          JEREMY DUNN
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              Case 1:10-cr-00131-LJO Document 58 Filed 04/28/11 Page 3 of 3


 1                                     O R D E R
 2        IT IS THE ORDER OF THE COURT THAT the status conference
 3   currently set in this matter for May 2 at 11:00 a.m., shall be
 4   continued to May 31, 2011, at 11:00 a.m.
 5        THE COURT FURTHER FINDS based on the reasons articulated by
 6   the parties that the continuance in the “ends of justice”
 7   outweighs the interest of the public and defendant in a speedy
 8   trial under the Speedy Trial Act and the intervening period of
 9   delay shall be excluded in the interests of justice pursuant to
10   18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv).
11   IT IS SO ORDERED.
12
     Dated:         April 27, 2011
13   0m8i78                          CHIEF UNITED STATES DISTRICT JUDGE
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